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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM'

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 7 4.
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2747}.

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JUDGE CARL BARBIBR

MODEL 2179

SECTION: J

filed in MDL No. 2179 (10 md 2179}.
Last Name First Name _ Middle Name/Maiden ' Suffix
ARY CINDY
“Phone Number — "| E-Mail Address
(229) 438-5880 | ifootdoc@bellsouth.net
Address City / State / Zip
2413 E. Doublegate Drive : Albany, GA 31721
) rrr
INDIVIOUAL CLAIM [ml BUSINESS CLAIM CJ
- Employer Name Business Name a
NIA
Job Title ‘ Description Type of Business
Rae Loe Adaiese.
city ; state i zip so sucne iets sets svtaseaveas seven tata tees . City state? zip ene ne
Last 4 digits of your Social Security Number Last 4 digits of your Tax IB Number
6930
eee eee eee ee ee ee ee ec
Attomey Name ! Firm Name
JEFF FRIEDMAN : FRIEDMANLEAK
Address . City / State / Zip
3800 CORPORATE wooDs DRIVE a * BIRMINGHAM, AL 36242 So
» Phone Number E-Mail Address
| (205) 278-7000 jfriedman@triedmanleak.com'/mconn@friedmanteak.com
ee ee eee eee eeeeeeeeeee reer eee ener ee
. : 7 ne i : 2.
Claim filed with BP? YES [J NO Claim Filed with GCCF?; YES [il No []
If yes, BP Claim No.: if yes, Claimant {dentification No.:
tO
Claim Type (Please check all that apply):
Damage or destruction to real or personal property oO Fear of Future Injury and/or Medical Monitoring
oO Earnings/Frofit Lass 0 Lass of Subsistence use of Natural Resources
oO Personal Injury/Death oO Removal and/or clean-up costs
oO Other:

” This form should be filed with the U.S. District Court far the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70139, in Civil Action No.
10-8888. While this Direct Filling Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in ©.4. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Brief Description:

1. For earings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
invalving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Damages to residential property located at 6811 Thomas Drive, Holiday Beach Unit 9, Panama
City, Bay County, FL 32408

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-axplosion claims related to clean-up or removal, include your roie in the clean-up activities, the name of your
employer, and where you were working.

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Piease check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle 84)

0 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of @ business involving fishing, shrimping,
crabbing or aystering.

Oo 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

O 3. Recreational business owner, operator or worker, including @ recreationai fishing business, commercial guide service, or charter
fishing business whe earn their living through the use of the Gulf of Mexico.

Cc] 4. Commercial business, business owner, operator or worker, including commercial divers, offshore ailfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

Of 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
0) 64. Plant and dock worker, including commercial seafood plant worker, langshoreman, or ferry operater.

fl 7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

OO 8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
Og. Bank, financial institution, or retai! business that suffered losses as a resuit of the spill.

(] #0. Person who utilizes natural resources for subsistence.

C3 11. Other:
Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3}
O 1. Boat captain or crew involved in the Vessels of Opportunity program.

0 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

O13. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during past-explosion clean-up activities.

4. Clean-up worker or beach personne! involved in clean-up activities along shorelines and intercoastal and intertidal zones.
C) 6. Resident who lives or works in close proximity to coastal waters.

OO 6. Other:

Both BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order

Protegiing Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plairggff (pr hj ep filing this form and PSC through Plaintiff Liaison Counsel.

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Claimant or Attorney Signature

DeX Frredenon

Print Name

AON

Date

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of 2 Plaintiff to file a Plaintiff Profile Form.
